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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII


 UNITED STATES OF AMERICA,                      CR. NO. 11-00479 (01) JMS
                                                CIV. NO. 18-00198 JMS-KSC
             Plaintiff/Respondent,
                                                ORDER (1) DENYING MOTION
       vs.                                      UNDER § 2255 TO VACATE, SET
                                                ASIDE, OR CORRECT SENTENCE,
 KENNETH SCOTT GORDON,                          ECF NO. 272; AND (2) GRANTING
                                                IN PART AND DENYING IN PART
             Defendant/Petitioner.              CERTIFICATE OF
                                                APPEALABILITY

    ORDER (1) DENYING MOTION UNDER § 2255 TO VACATE, SET
  ASIDE, OR CORRECT SENTENCE, ECF NO. 272; AND (2) GRANTING
 IN PART AND DENYING IN PART CERTIFICATE OF APPEALABILITY

                               I. INTRODUCTION

             Before the court is Defendant/Petitioner Kenneth Scott Gordon’s

 (“Gordon”) Motion under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct

 Sentence by a Person in Federal Custody. ECF No. 272. Gordon challenges his

 conviction and sentence alleging that: (1) his motion to suppress evidence was

 improperly denied; and (2) he was provided ineffective assistance of counsel on

 appeal.

             For the reasons discussed below, the court DENIES Gordon’s § 2255

 Motion (1) with prejudice as to Ground One (motion to suppress), and (2) without

 prejudice as to Ground Two (ineffective assistance of appellate counsel).


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                                    II. BACKGROUND

               On May 18, 2011, Gordon was indicted with two co-defendants for

 conspiracy to distribute methamphetamine, and possession with intent to distribute

 methamphetamine, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(A).

 ECF No. 6. Arguing that a warrantless search violates the Fourth Amendment, on

 May 11, 2012, Gordon moved to suppress evidence seized from a bag he was

 carrying when arrested and from a wallet and cellphone found on him when

 arrested. ECF Nos. 74, 75. After a hearing, the court denied the motions to

 suppress on September 10, 2012. ECF No. 105; United States v. Gordon, 895

 F. Supp. 2d 1011 (D. Haw. 2012). After a jury trial, Gordon was found guilty as

 charged on October 17, 2012, ECF No. 161, and later sentenced to 164 months of

 imprisonment with five years of supervised release, ECF No. 227.1 Gordon filed a

 “Motion for a New Trial for Sentencing,” ECF No. 230, which was denied, ECF

 No. 233.

               Gordon appealed. ECF No. 234. The Ninth Circuit affirmed,

 concluding, among other things, that this court did not err in denying Gordon’s

 motion to suppress the evidence from the bag and wallet. United States v. Gordon,

 694 F. App’x 556 (9th Cir. 2017), cert. denied, 138 S. Ct. 434 (2017).


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          Gordon’s sentence was later reduced from 164 to 151 months of imprisonment (with no
 changes to supervised release) after the court retroactively applied Amendment 782 of the United
 States Sentencing Guidelines. ECF No. 261.

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               On May 22, 2018, Gordon filed the instant Motion under 28 U.S.C.

 § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody

 (the “Motion”). ECF No. 272. The Government filed its Response on July 23,

 2018, ECF No. 277, and Gordon filed his Reply on August 27, 2018, ECF No. 278.

 On September 6, 2018, the court requested both parties to provide additional

 briefing on whether the court has jurisdiction over Ground Two of the Motion

 (ineffective assistance of appellate counsel). ECF No. 279. On October 3, 2018,

 the Government filed a Supplement to its Response. ECF No. 280. On October 4,

 2018, Gordon filed his Memoranda 2 as to the District Court’s Jurisdiction. ECF

 No. 281, 282. On October 18, 2018, Gordon filed a Motion to Strike unresponsive

 portions of Government’s Supplement. ECF No. 283.

                            III. STANDARD OF REVIEW

               Title 28 U.S.C. § 2255(a) provides:

               A prisoner in custody under sentence of a court
               established by Act of Congress claiming the right to be
               released upon the ground that the sentence was imposed
               in violation of the Constitution or laws of the United
               States, or that the court was without jurisdiction to
               impose such sentence, or that the sentence was in excess
               of the maximum authorized by law, or is otherwise
               subject to collateral attack, may move the court which
               imposed the sentence to vacate, set aside or correct the
               sentence.

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          Gordon filed two nearly identical Memoranda on October 4, 2018. ECF Nos. 281, 282.
 The court has reviewed both.


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              A court may dismiss a § 2255 motion if “it plainly appears from the

 motion, any attached exhibits, and the record of prior proceedings that the moving

 party is not entitled to relief.” Rule Governing Section 2255 Proceedings 4(b). A

 court need not hold an evidentiary hearing if the allegations are “palpably

 incredible [or] patently frivolous,” Blackledge v. Allison, 431 U.S. 63, 76 (1977),

 or if the issues can be conclusively decided on the basis of the evidence in the

 record. See United States v. Mejia-Mesa, 153 F.3d 925, 929 (9th Cir. 1998)

 (noting that a “district court has discretion to deny an evidentiary hearing on a

 § 2255 claim where the files and records conclusively show that the movant is not

 entitled to relief”). Conclusory statements in a § 2255 motion are insufficient to

 require a hearing. United States v. Johnson, 988 F.2d 941, 945 (9th Cir. 1993). A

 petitioner must “allege specific facts which, if true, would entitle him to relief.”

 United States v. Rodrigues, 347 F.3d 818, 824 (9th Cir. 2003) (internal quotation

 marks and citation omitted).

                                  III. DISCUSSION

 A.    Ground One: Motion to Suppress

              Gordon’s claim regarding his motion to suppress evidence fails

 because it was already raised in his direct appeal. “When a defendant has raised a

 claim and has been given a full and fair opportunity to litigate it on direct appeal,

 that claim may not be used as basis for a subsequent § 2255 petition.” United


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 States v. Hayes, 231 F.3d 1132, 1139 (9th Cir. 2000) (citation omitted); see also

 Olney v. United States, 433 F.2d 161, 162 (9th Cir. 1970) (“Having raised this

 point unsuccessfully on direct appeal, appellant cannot now seek to relitigate it as

 part of a petition under § 2255.”). In his Motion, Gordon argues that his motion to

 suppress should have succeeded under Arizona v. Gant, 556 U.S. 332 (2009)

 (holding unreasonable a search of defendant’s car after defendant was handcuffed

 and secured inside a patrol car). See ECF No. 272-1 at 19-26. But the Ninth

 Circuit addressed this issue on direct appeal and distinguished Gordon from the

 defendant in Gant because, unlike that defendant, Gordon was “within reaching

 distance” of the duffel bag during the search. Gordon, 694 F. App’x at 557 (citing

 Gant, 556 U.S. at 351). Further, the Ninth Circuit reasoned that the search was

 “roughly contemporaneous” with the arrest because it occurred within seconds of

 Gordon being handcuffed. Id. (citing United States v. Camou, 773 F.3d 932, 938

 (9th Cir. 2014); United States v. Cook, 808 F.3d 1195, 1197, 1199-1200 (9th Cir.

 2015); United States v. Nohara, 3 F.3d 1239, 1243 (9th Cir. 1993)).

              Finally, the Ninth Circuit concluded that the search of Gordon’s

 wallet was lawful because Gordon stipulated that officers would testify that the

 wallet was taken from his person at the time of his arrest and then transported to

 the DEA office. Id. Thus, Gordon is simply trying to relitigate his direct appeal,

 which cannot be a basis for a § 2255 petition.


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 B.     Ground Two: Ineffective Assistance of Appellate Counsel

               Gordon next alleges that his appellate counsel was ineffective for

 failing to: (1) file a Reply brief; (2) request oral argument; or (3) petition for

 rehearing. See ECF No. 272-1 at 30-35. On September 6, 2018, the court

 requested supplemental briefing on the issue of whether this court has jurisdiction

 over this claim. ECF No. 279. Upon review of the briefing3 and relevant case law,

 the court determines that it does not have jurisdiction over Gordon’s claim of

 ineffective assistance of appellate counsel.

               Both Gordon and the Government argue that this court has the

 authority to review Gordon’s claim of ineffective assistance of appellate counsel.

 ECF No. 281 at 2; ECF No. 280 at 2. The Government argues that the Ninth

 Circuit has assumed in some cases that the district court had jurisdiction over

 similar claims. ECF No. 280 at 3 (citing Simmons v. United States, 2013 WL

 3455770, at *11 (D. Haw. July 9, 2013) (“Simmons I”)). The Government also

 argues that this court is “in the best position to conduct an evidentiary hearing

 and/or perform fact-finding in the first instance . . . .” Id. at 3-4.

               The court has addressed this issue in Simmons I. In that case, the

 petitioner asserted that his appellate counsel was ineffective because counsel

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         Gordon filed a Motion to Strike unresponsive portions of Government’s Supplement,
 ECF No. 280. ECF No. 283. The court does not consider any arguments in the Government’s
 Supplement beyond the scope of the jurisdiction question. Thus, Gordon’s Motion to Strike,
 ECF No. 283, is DENIED as moot.

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 allowed the petitioner to sign a declaration to the Ninth Circuit agreeing to

 dismissal of his appeal. 2013 WL 3455770, at *11. Like in Simmons I, Gordon is

 “effectively asking this court to change what happened before the Ninth Circuit”

 — in this case, appellate counsel’s failure to file a Reply brief, request oral

 argument, or petition for rehearing. Id.

              Simmons I recognized that “the Ninth Circuit has assumed in some

 cases (without specifically addressing) that the district court had jurisdiction to

 decide claims alleging ineffective assistance of appellate counsel.” 2013 WL

 3455770, at *11 (citing United States v. Gamba, 541 F.3d 895, 896 (9th Cir. 2008);

 United States v. Skurdal, 341 F.3d 921 (9th Cir. 2003); and United States v. Birtle,

 792 F.2d 846, 847 (9th Cir. 1986)). And Simmons I acknowledged that these cases

 “may recognize that the district court may be in the best position to conduct an

 evidentiary hearing and/or perform fact-finding in the first instance.” Id.

              But, Simmons I concluded that it did not appear that the court had

 jurisdiction over the claim because of Williams v. United States, 307 F.2d 366, 368

 (9th Cir. 1962), overruled on other grounds by Kaufman v. United States, 394 U.S.

 217 (1969), which stated:

              [A] section 2255 proceeding [cannot] be utilized as a
              method of reviewing the action of [the Ninth Circuit] in
              dismissing an appeal. If an appeal is improvidently
              dismissed in [the Ninth Circuit] the remedy is by way of
              a motion directed to [the Ninth Circuit] asking for a
              recall of the mandate or certified judgment so that [the

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                Ninth Circuit] may determine whether the appeal should
                be reinstated. The recall of the mandate or certified
                judgment for such a purpose is entirely discretionary with
                [the Ninth Circuit].

 See Simmons I, 2013 WL 3455770, at *10 (collecting cases). And this makes

 sense. This court could not offer Gordon any relief he seeks based on ineffective

 assistance of appellate counsel. Only the Ninth Circuit could do so. 4

                Ultimately, the court denied Simmons’ § 2255 motion (as to

 ineffective assistance of appellate counsel) without prejudice and granted petitioner

 leave to renew the ineffective assistance of appellate counsel claim “if the Ninth

 Circuit determines in connection with [petitioner’s] expected proceedings to recall

 the mandate that this Court has jurisdiction to adjudicate it and grant relief on it,

 notwithstanding Williams, in [petitioner’s] § 2255 proceeding.” Simmons v. United

 States, 2013 WL 11318851, at *3 (D. Haw. July 26, 2013) (“Simmons II”). As in

 Williams, the remedy for Gordon, if any, appears to be “by way of a motion

 directed to [the Ninth Circuit] asking for a recall of the mandate or certified

 judgment.” Williams, 307 F.2d at 368.

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            In his § 2255 Motion, Gordon requested the following relief: “(i) conviction should be
 vacated; (ii) direct trial court to exclude any evidence found in the bag in any subsequent trial or
 proceeding, and (iii) order my release on signature bond.” ECF No. 272 at 12. But this type of
 relief is not appropriate for an ineffective assistance of appellate counsel claim. If Gordon
 succeeded on his claim, at best he may be entitled to have the Ninth Circuit vacate its prior
 opinion and reinstate his direct appeal.

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 C.    Certificate of Appealability

              Because the court denies Gordon’s § 2255 Motion, the court next

 addresses whether Gordon should be granted a certificate of appealability

 (“COA”). See Rule Governing Section 2255 Proceedings 11(a) (“The district court

 must issue or deny a certificate of appealability when it enters a final order adverse

 to the applicant.”). The court may issue a COA “only if the applicant has made a

 substantial showing of the denial of a constitutional right.” 28 U.S.C.

 § 2253(c)(2). See Rule Governing Section 2255 Proceedings 11(a) (“If the court

 issues a certificate, the court must state the specific issue or issues that satisfy the

 showing required by 28 U.S.C. § 2253(c)(2).”).

                “The standard for a certificate of appealability is lenient.” Hayward

 v. Marshall, 603 F.3d 546, 553 (9th Cir. 2010) (en banc), overruled on other

 grounds by Swarthout v. Cooke, 562 U.S. 216 (2011). The petitioner is required to

 demonstrate only “that reasonable jurists could debate the district court's resolution

 or that the issues are adequate to deserve encouragement to proceed further.” Id.

 (citations and internal quotation marks omitted). See also Slack v. McDaniel, 529

 U.S. 473, 484 (2000) (holding that a certificate of appealability should issue only if

 a prisoner shows, among other things, “that jurists of reason would find it

 debatable whether the district court was correct in its procedural ruling”).




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              Applying that standard, the jurisdictional issue concerning Ground

 Two (ineffective assistance of appellate counsel) is debatable by jurists of reason

 — the Ninth Circuit has assumed (without discussion) that district courts have

 jurisdiction over ineffective assistance of appellate counsel, while its opinion in

 Williams seems to say otherwise. But the claim in Ground One (motion to

 suppress) is not debatable by jurists of reason — Gordon was given a “full and fair

 opportunity to litigate” this issue on direct appeal (and did so) and cannot use this

 § 2255 petition to relitigate the issue. See Hayes, 231 F.3d at 1139.

                                 V. CONCLUSION

              For the foregoing reasons, the court DENIES Gordon’s Motion under

 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal

 Custody (1) with prejudice concerning Ground One (motion to suppress), and

 (2) without prejudice concerning Ground Two (ineffective assistance of appellate

 counsel). The court GRANTS issuance of a COA as to Ground Two, and DENIES

 issuance of a COA as to Ground One.

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               IT IS SO ORDERED.

               DATED: Honolulu, Hawaii, October 29, 2018.



                                  /s/ J. Michael Seabright
                                 J. Michael Seabright
                                 Chief United States District Judge




 United States v. Gordon, Cr. No. 11-00479-01 JMS, Civ. No. 18-00198 JMS-KSC, (1) Order
 Denying Motion Under § 2255 to Vacate, Set Aside, or Correct Sentence, ECF No. 272; and (2)
 Granting In Part and Denying in Part Certificate of Appealability




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